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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


     Mahmoud KHALIL,

                 Petitioner,
                                                            Case No. 25-cv-01963
     v.                                                     (MEF-MAH)
     Donald J. TRUMP, in his official capacity
     as President of the United States; William P.          ORAL ARGUMENT
     JOYCE, in his official capacity as Acting              REQUESTED
     Field Office Director of New York,
     Immigration and Customs Enforcement; 1
     Caleb VITELLO, Acting Director, U.S.
     Immigration and Customs Enforcement;
     Kristi NOEM, in her official capacity as
     Secretary of the United States Department
     of Homeland Security; Marco RUBIO, in his
     official capacity as Secretary of State; and
     Pamela BONDI, in her official capacity as
     Attorney General, U.S. Department of
     Justice,

                 Respondents.


 PETITIONER’S AMENDED MEMORANDUM OF LAW IN SUPPORT OF
        MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




 1
  Respondent Yolanda Pittman, in her official capacity as Warden of Elizabeth
 Contract Detention Facility, will be added.
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                                  INTRODUCTION

       The government’s detention of Petitioner Mahmoud Khalil is extraordinary

 and unprecedented. He seeks preliminary relief to halt the government’s openly-

 stated attempt to punish him for the exercise of his constitutionally protected

 freedom of speech—namely, his expressive activity in support of Palestinian human

 rights, his criticism of Israel and its military actions in Gaza, and his opposition to

 U.S. support of those actions. Mr. Khalil is a beloved husband, soon-to-be father,

 recent graduate student, and Palestinian human rights defender. In retaliation for his

 speech on a matter of urgent public concern, Respondents have detained him,

 silenced him, transferred him more than a thousand miles from his family, and are

 seeking to deport him.

       Respondents have done so pursuant to a policy to arrest, detain, and seek the

 removal of noncitizens who engage in protected expressive activity in support of

 Palestinian rights or critical of Israeli policies, including by making a “determination”

 that their presence in the United States would have “serious adverse foreign policy

 consequences.” The scope of this policy is breathtaking: President Donald Trump

 and Secretary of State Marco Rubio could apply it to any speech supporting

 Palestinian rights by any noncitizen. And the policy provides no standards or notice

 as to what specific statements might subject noncitizens to this unprecedented

 determination. By design, Respondents’ actions have an immediate and palpable

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 chilling effect on political debate on a topic of ongoing international and national

 concern. Many noncitizens across the country—including lawful permanent

 residents like Mr. Khalil—now live in fear that they will be next if their actual or

 imputed speech brings them into the crosshairs of this administration, and many are

 choosing to stay silent about their strongly-held beliefs.

       In this motion, Mr. Khalil moves for preliminary relief on his First

 Amendment and due process claims. Each of the preliminary injunction factors

 weighs strongly in Mr. Khalil’s favor. First, he is likely to succeed on the merits of

 these claims because the government’s determinations as to him—and its broader

 policy targeting speech—are retaliatory, viewpoint discriminatory, void for

 vagueness, and his detention is unjustified. Second, without preliminary relief Mr.

 Khalil is suffering numerous irreparable harms including the loss of his freedom, the

 possible loss of his right to remain in this country, a profound silencing of his deeply

 held beliefs, disruption in his medical care, loss of future employment, separation

 from his U.S. citizen wife, and the prospect of missing the birth of his first child.

 And finally, on the equities, unless this Court enjoins the government’s unlawful and

 retaliatory policy and determination, this harm—and the suppression of disfavored

 speech—will continue to grow for Mr. Khalil and others subject to the policy during

 the pendency of this action.




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       For all these reasons, the Court should issue an order releasing Mr. Khalil,

 vacating Respondent Rubio’s determination that the INA’s “Foreign Policy Ground”

 applies to him, and enjoining Respondents from enforcing their unlawful policy

 against Mr. Khalil or others for the pendency of this proceeding.

                                  BACKGROUND

       A summary of the facts most relevant to this motion is below. 2

       Mr. Khalil engages in protected speech. Mr. Khalil is a Palestinian, a recent

 Columbia graduate student living with his wife—a United States citizen expecting

 the couple’s first child next month—and a Lawful Permanent Resident. Declaration

 of Noor Ramez Abdalla (“Abdalla Decl.”), ECF 55, at ¶¶ 4–11. Mr. Khalil is

 committed to peaceful protest. He has been an outspoken defender of Palestinian

 human rights, and he has called Israel’s actions in Gaza a genocide and characterized

 the United States as financing and facilitating such violence. Am. Pet., ECF 38, at ¶

 22. Mr. Khalil’s prominence as a student negotiator on behalf of Columbia

 University student protestors, along with Columbia University’s position as a

 national focal point of student protests, has propelled him into the public eye. He has

 spoken with national and international news media regarding international law, the



 2
   A fuller treatment of the facts in this case is in the amended petition, ECF 38, and
 additional facts are summarized at ECF 50, 53, 93, and 96. Mr. Khalil has verified
 that the facts of his amended petition are true. See Declaration of Veronica Salama
 (Mar. 14, 2025), ECF 50-1.
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 obligations the United States and Columbia have under that law, and the human

 rights of Palestinian people. Id. ¶¶ 26–27.

         Pursuant to the Policy, Respondents retaliate against Mr. Khalil’s

 protected speech. In response to the speech of Mr. Khalil and others who share his

 views, the government announced a policy (the “Policy”) to arrest, detain, and seek

 to remove noncitizens who engage in expressive activities in the United States

 supporting Palestinian rights. See id. ¶¶ 29–44. Most notably, the Trump

 Administration has clearly stated—via public statements, multiple Executive Orders,

 and in the legal documents at the heart of this case—that it is targeting

 constitutionally protected speech, not unlawful conduct, in an effort to suppress one

 side of an ongoing political debate. For example, President Trump posted that Mr.

 Khalil’s arrest was “the first arrest of many to come,” declaring the Administration

 would not tolerate “students at Columbia and other universities . . . who have

 engaged in pro-terrorist, anti-Semitic, anti-American activity,” while promising to

 “find, apprehend, and deport these terrorist sympathizers from our country.” Id. ¶

 73. 3 And Secretary of State Rubio has stated, “We will be revoking the visas and/or

 green cards of Hamas supporters in America so they can be deported.” Id. ¶ 75. 4




 3
     Also available at https://perma.cc/BML5-GR84.
 4
     Also available at https://perma.cc/PJ2C-FHFD.
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       Pursuant to the Policy, on March 8, 2025, Respondents arrested Mr. Khalil,

 took him into Immigration and Customs Enforcement (“ICE”) custody, and notified

 him that “the Secretary of State has determined that your presence or activities in the

 United States would have serious adverse foreign policy consequences for the

 United States,” in a document citing Section 237(a)(4)(C)(i) of the Immigration and

 Nationality Act (the “Foreign Policy Ground”), and further stating “the Secretary of

 State has reasonable ground to believe that your presence or activities in the United

 States would have potentially serious adverse foreign policy consequences for the

 United States.” Am. Pet. ¶ 82. 5 For Mr. Khalil, the events of the night of the arrest


 5
   Notably, this statute states that a noncitizen may not be removed “because of [the
 individual’s] past, current, or expected beliefs, statements, or associations, if such
 beliefs, statements, or associations would be lawful within the United States.” 8
 U.S.C. § 1182(a)(3)(C)(iii). While the Secretary of State can overcome the
 prohibition on speech-based removals if he “personally determines that the alien’s
 [presence] would compromise a compelling United States foreign policy interest,”
 id., in enacting this ground for removal Congress made clear that, consistent with
 the requirements of the First Amendment and the Due Process Clause, it did not and
 could not grant the executive branch authority to deport noncitizens for protected
 political speech disfavored by the government. To the contrary, Congress explained
 its motivation as preventing such speech suppression: “For many years, the United
 States has embarrassed itself by excluding prominent foreigners from visiting the
 United States solely because of their political beliefs.” S. Rep. No. 100–75 at 11,
 100th Cong., 1st Sess. (1987). Therefore, in the parallel provision regarding
 admissibility, Congress amended the INA “to take away the executive branch’s
 authority to deny visas to foreigners solely because of the foreigner's political beliefs
 or because of his anticipated speech in the United States.” Id. See also H.R. Conf.
 Rep. No. 101-955, 101st Cong., 2nd Sess. (1990) (the exception is to be interpreted
 “as a significantly higher standard than the general potential for serious adverse
 foreign policy consequences,” is meant to “be used only in unusual circumstances,”

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 were swift and terrifying. He recalls an ICE agent saying within earshot that “the

 White House [wa]s requesting an update” on him. Id. ¶ 58; see also id. ¶¶ 45–72.

       Secretary Rubio’s determination (the “Rubio Determination”) was

 specifically motivated by Mr. Khalil’s constitutionally protected speech. Indeed, on

 March 10, the Department of Homeland Security (“DHS”) posted an official

 statement on social media stating ICE carried out Mr. Khalil’s arrest “in support of

 President Trump’s executive orders prohibiting anti-Semitism, and in coordination

 with the Department of State,” Id. ¶ 76, 6 and the White House Press Secretary

 asserted his arrest was for “siding with terrorists,” id. ¶79. 7 Even if such allegations

 were true—and they are not 8 —these statements evince the purpose behind Mr.

 Khalil’s detention: to punish him for his perceived political viewpoints. And as

 discussed further below, regardless of how the government might characterize Mr.

 Khalil’s expression, it is protected by the First Amendment.

       The Policy’s future application has been clearly outlined. On March 10, a

 White House official confirmed that the federal government’s basis for arresting Mr.

 Khalil was a “blueprint” for investigating other students. Id. ¶ 77. And on March 13,



 and should be invoked “sparingly and not merely because there is a likelihood that
 an alien will make critical remarks about the United States or its policies.”).
 6
   Also available at https://perma.cc/2BYW-9G84.
 7
   Also available at https://perma.cc/565D-2K5G (timestamp 10:16).
 8
   See generally ECF 56-6 (Mahmoud Khalil support letters); ECF 93-1 (additional
 letters).
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 when asked to justify the government’s actions, Troy Edgar, the Deputy Secretary

 of DHS, did not dispute that Mr. Khalil had not broken any laws and instead asserted

 that Mr. Khalil was “put[ting] himself in the middle of the process of basically pro-

 Palestinian activity.” Id. ¶ 81. When asked if “any criticism of the Israeli

 government,” “any criticism of the United States,” “any criticism of the government”

 or “protesting” are deportable offenses, Deputy Secretary Edgar did not provide a

 direct answer. Instead, Edgar stated that if, when Mr. Khalil applied for a student

 visa, he had admitted an intention to “go and protest,” “we would have never let him

 into the country.” Id. 9 On March 16, Secretary Rubio stated that the government

 targeted Mr. Khalil, and will continue to target other students, for participating in

 “pro-Hamas events.” 10 Indeed, pursuant to the Policy, the Administration has

 targeted several noncitizens for deportation, including multiple students who

 attended pro-Palestinian demonstrations, 11 or “lik[ed] or shar[ed] posts that




 9
   See also Salama Decl. Ex. C, ECF 68-3, DHS Official Defends Mahmoud Khalil
 Arrest, But Offers Few Details on Why It Happened, NPR Morning Edition
 Transcript (Mar. 13, 2025) available at https://perma.cc/N6QY-4PWF.
 10
    Salama Decl. Ex. A, ECF 68-1, Amanda Friedman, Rubio Defends Detainment of
 Columbia Activist, Says More Arrests Will Come, Politico (Mar. 16, 2025), also
 available at https://perma.cc/U3DR-KCPL.
 11
    Jonah E. Bromwich and Hamed Aleaziz, Columbia Student Hunted by ICE Sues
 to Prevent Deportation, New York Times (March 24, 2025), available at
 https://perma.cc/5CC4-U4XJ.
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 highlighted ‘human rights violations’ in the war in Gaza,” 12 and a college professor

 whose only offense appears to be his relation by marriage to Palestinians. 13

       Finally, in the days since Mr. Khalil filed his petition, Respondents continue

 to retaliate against him. On March 17—the date Mr. Khalil first filed his motion for

 preliminary relief—Respondents alleged, for the first time, that Mr. Khalil is

 independently    deportable    because    he   engaged     in   “fraud”   or    “willful

 misrepresentation” of a “material fact” when he obtained his green card. ECF 90-1

 (the “NTA”), at 5-6. He did not, and Respondents’ after-the-fact attempts to recast

 the basis for his arrest and detention only further underscore the retaliatory nature of

 both the Rubio Determination and their broader Policy. Indeed, the government’s

 superseding charging document makes clear its removal case against Mr. Khalil is

 premised on his protected expressive activities. See id. (citing 8 U.S.C. §

 1182(a)(3)(C)(iii), which purports to permit removal based on a noncitizen’s

 protected expressive activities).

       Nor is Mr. Khalil the only person who has been subject to additional

 retaliation for seeking to vindicate his First Amendment rights and to challenge the



 12
    Salama Decl. Ex. B, ECF 68-2, Luis Ferré-Sadurní and Hamed Aleaziz, How a
 Columbia Student Fled to Canada After ICE Came Looking for Her, N.Y. Times
 (Mar. 15, 2025), also available at https://perma.cc/3YH3-5U5K.
 13
     Hank Sanders and Zolan Kanno-Youngs, D.H.S. Detains a Georgetown
 University Academic, N.Y. Times (Mar. 19, 2025), also available at
 https://perma.cc/Q5A7-7HT3.
                                            8
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 Policy in federal court. After a case was filed by Cornell University Ph.D. candidates

 and a professor seeking to enjoin the Policy from being enforced against them, the

 government responded by ordering one of the named plaintiffs, Momodou Taal, to

 surrender to ICE custody. See Taal v. Trump, No. 3:25-cv-00335 (N.D.N.Y. March

 15, 2025). 14

        Without injunctive relief, Mr. Khalil will suffer multiple irreparable

 harms, including ongoing detention and burdens on his protected speech. As

 described more fully below, see infra Section II, Mr. Khalil is currently in ICE

 custody in Louisiana, more than 1,000 miles from his eight-months-pregnant wife,

 terrified for her well-being without him as she faces an onslaught of harassment and

 national attention caused by the Rubio Determination. See Am. Pet. ¶¶ 73–81;

 Abdalla Decl. ¶¶ 28–29. He cannot fully engage in the protected speech for which

 he was targeted; his immigration status is at risk; and his liberty has been stripped

 unlawfully. See also generally Mems. in Support of Mot. for Release, ECF 53, 93.

 For all these reasons, he now moves for preliminary relief.

                                     ARGUMENT

        Mr. Khalil seeks preliminary relief that, for the pendency of this litigation: (1)

 orders his release; (2) vacates the Rubio Determination as to him; and (3) enjoins


 14
   See also Andy Rose, Cornell Student Protestor Told to Surrender to ICE As He
 Asks Judge to Block Deportation, CNN (Mar. 22, 2025), also available at
 https://perma.cc/HB7S-DPAE.
                                             9
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 Respondents from enforcing their Policy of arresting, detaining, and removing

 noncitizens who engage in speech in the United States supporting Palestinian rights

 or critical of Israel. Such an order would return the parties to the status quo that

 existed prior to the present controversy.

       To obtain such relief, the party seeking a preliminary injunction must show “a

 reasonable probability of eventual success in the litigation” and that they will be

 “irreparably injured . . . if relief is not granted.” Reilly v. City of Harrisburg, 858

 F.3d 173, 176 (3d Cir. 2017) (citation omitted). If these two factors are established,

 the Court then considers the possibility of harm to the nonmoving party and the

 public interest. Id. When a government law or policy restricts constitutionally

 protected expression, “[t]he government bears the burden of proving that the [policy]

 is constitutional; thus, the plaintiff must be deemed likely to prevail if the

 government fails to show the constitutionality” of the challenged policy. Greater

 Phila. Chamber of Com. v. City of Phila., 949 F.3d 116, 133 (3d Cir. 2020) (internal

 quotation marks omitted).

 I. PETITIONER IS LIKELY TO SUCCEED ON THE MERITS.

  A. The Rubio Determination and the Policy are retaliatory, viewpoint
     discriminatory, and void for vagueness.

    1. The Rubio Determination is retaliatory in violation of the First
       Amendment.



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       To succeed on his First Amendment retaliation claim, Mr. Khalil must show

 that: “(1) [h]e engaged in constitutionally protected conduct, (2) there was retaliatory

 action sufficient to deter a person of ordinary firmness from exercising [his]

 constitutional rights, and (3) there was a causal link between the constitutionally

 protected conduct and the retaliatory action.” Conard v. Pennsylvania State Police,

 902 F.3d 178, 183 (3d Cir. 2018) (quoting Mirabella v. Villard, 853 F.3d 641, 649

 (3d Cir. 2017)). Mr. Khalil is likely to demonstrate each of those elements here.

       First, Mr. Khalil’s expression lies at the core of what the First Amendment

 protects. Speech on matters of “public concern is at the heart of the First

 Amendment[]” and is entitled to “special protection.” Snyder v. Phelps, 562 U.S.

 443, 451–52 (2011) (citation omitted). Similarly, “[s]peech critical of the exercise

 of the State’s power lies at the very center of the First Amendment.” Gentile v. State

 Bar of Nev., 501 U.S. 1030, 1034 (1991).

       Here, Mr. Khalil’s speech advocating for Palestinian rights plainly relates to

 a matter of grave and widespread “public concern” in the United States. See supra

 p. 3-4; see also Landau v. Corp. of Haverford Coll., 2025 WL 35469, at *2 (E.D. Pa.

 Jan. 6, 2025) (describing students’ expressive activity in support of Palestinians as a

 “classic example of protected First Amendment expression”). In addition, Mr.

 Khalil’s expressive activities are openly critical of U.S. support for Israel’s military

 assault on Gaza. See id. Because this speech concerns “political change,”

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 Respondents’ retaliation “trenches upon an area in which the importance of First

 Amendment protections is at its zenith.’” Meyer v. Grant, 486 U.S. 414, 421–22,

 425 (1988) (cleaned up).

       That Mr. Khalil is not a citizen does not change this analysis. As the Supreme

 Court has made clear, “[f]reedom of speech and press is accorded aliens residing in

 this country.” Bridges v. Wixon, 326 U.S. 135, 148 (1945). And several courts have

 held specifically that the First Amendment protects noncitizens who are detained

 and threatened with deportation because of their protected speech. See, e.g., Ragbir

 v. Homan, 923 F.3d 53, 71-72 (2d Cir. 2019), cert. granted, judgment vacated on

 other grounds sub nom. Pham v. Ragbir, 141 S. Ct. 227 (2020); Bello-Reyes v.

 Gaynor, 985 F.3d 696, 698 (9th Cir. 2021) (bond revocation); Gutierrez-Soto v.

 Sessions, 317 F. Supp. 3d 917, 921 (W.D. Tex. 2018) (parole revocation); Rueda

 Vidal v. U.S. Dep't of Homeland Sec., 536 F. Supp. 3d 604, 619–623 (C.D. Cal.

 2021) (denial of DACA application). Indeed, perhaps recognizing how extreme it is

 to claim the speech of lawful permanent residents can be censored in this way,

 Secretary Rubio has recently focused more attention on the Policy’s (still

 unconstitutional) application to visa holders.15




 15
   @marcorubio, X (Mar. 21, 2025, 11:22 PM) (promising to “cancel the visas of
 those whose presence or activities have potentially serious adverse foreign policy
 consequences”), also available at https://perma.cc/9742-DM78.
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       As for the second factor in the retaliation analysis, the Rubio Determination

 constitutes adverse action that would deter a person of “ordinary firmness” from

 exercising their First Amendment rights for several reasons. See O'Connor v. City of

 Newark, 440 F.3d 125, 128 (3d Cir. 2006) (explaining that the “deterrence threshold”

 for First Amendment retaliation claims is “very low”). Most immediately, the Rubio

 Determination has placed Mr. Khalil’s immigration status at risk, subjecting him to

 the possible loss of his ability to remain a lawful permanent resident and to removal.

 The Supreme Court has “long recognized” that deportation is “a particularly severe

 penalty” for lawful permanent residents. Padilla v. Kentucky, 559 U.S. 356, 365–66

 (2010) (citing Fong Yue Ting v. United States, 149 U.S. 698, 740 (1893)); see also

 Ragbir, 923 F.3d at 71–72 (holding that threat of removal constitutes adverse action

 under First Amendment analysis).

       Additionally, the Rubio Determination has irretrievably damaged Mr. Khalil’s

 reputation by baselessly identifying him as a threat to the foreign policy of the United

 States, marking him and his family as a target for harassment and notoriety. See Am.

 Pet. ¶¶ 73–81; Abdalla Decl. ¶¶ 28–29 (Mr. Khalil’s eight-months-pregnant wife

 describing harassment directed at Mr. Khalil, her, and their extended family since

 his detention). The Supreme Court has criticized designations like the Rubio

 Determination, noting that such “condemnations and blacklists” should not be

 wielded “as a substitute for . . . legal types of penalties by courts following trial and

                                            13
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 conviction,” Joint Anti-Fascist Refugee Committee v. McGrath, 341 U.S. 123, 145

 (1951) (Black, J., concurring), and condemning as “devoid of fundamental fairness”

 similar designations of “subversive” organizations and individuals, id. at 161

 (Frankfurter, J., concurring). Finally, the Rubio Determination is also the

 government’s justification for Mr. Khalil’s arrest and detention, which are

 themselves adverse actions. See infra Section I.B.

       Given these multiple, severe harms resulting from the Rubio Determination,

 it is undeniable that a person of “ordinary firmness” would be deterred from

 exercising their First Amendment rights. See Mirabella v. Villard, 853 F.3d at 650

 (noting court employs objective standard, considering “whether the act would deter

 a person of ordinary firmness, not whether the plaintiff was deterred”). The First

 Amendment was designed “to assure unfettered interchange of ideas for the bringing

 about of political and social changes desired by the people.” Roth v. United States,

 354 U.S. 476, 484 (1957). It reflects a “profound national commitment to the

 principle that debate on public issues”—including international law and human

 rights—“should be uninhibited, robust, and wide-open[.]” N.Y. Times v. Sullivan,

 376 U.S. 254, 270 (1964). Now, every noncitizen must wonder whether they will

 face retaliation for engaging in speech on issues of public concern or critical of the

 U.S. government—and given the government’s willingness to misrepresent and

 caricature Mr. Khalil’s views, must worry that even the most innocuous statements

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 can endanger their presence in the United States if they are in tension with powerful

 officials’ strongly-held personal opinions or policy. See Ragbir, 923 F.3d at 71

 (“[T]o allow this retaliatory conduct to proceed would broadly chill protected speech,

 among not only [noncitizen] activists . . . but also . . . citizens and other residents.”).

 If the Rubio Determination, and broader policy, have their intended effect, it will be

 to prevent Mr. Khalil—and many others—from speaking in this country at all.

        Finally, with respect to the third factor in the retaliation analysis—causation—

 the public statements of government officials confirm that their disagreement with

 Mr. Khalil’s protected speech was a “substantial or motivating factor” for the Rubio

 Determination. Conard, 902 F.3d at 184; Anderson v. Davila, 125 F.3d 148, 161 (3d

 Cir. 1997) (holding that in First Amendment cases, “the motives of government

 officials are indeed relevant, if not dispositive, when an individual’s exercise of

 speech precedes government action affecting that individual”). “It is a fundamental

 principle of the First Amendment that the government may not punish or suppress

 speech based on disapproval of the ideas or perspectives the speech conveys.” Matal

 v. Tam, 582 U.S. 218, 248 (2017) (Kennedy, J., concurring in part) (citing

 Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 828–30 (1995)).

 “Such discrimination based on viewpoint is an egregious form of content

 discrimination, which is presumptively unconstitutional.” Id. (cleaned up).




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       Here, the Administration has clearly stated that it is targeting Mr. Khalil’s

 constitutionally protected speech, not unlawful conduct. The government has argued

 that Mr. Khalil’s presence undercuts U.S. foreign policy interests because, in the

 government’s baseless view, he is a “Hamas sympathizer” and has uttered “pro-

 Hamas” speech, and “participated in pro-jihadist protests.” See Am. Pet. ¶¶ 31, 36,

 73. Then-Senator Marco Rubio first publicly suggested what would become the

 challenged Policy on October 15, 2023. He claimed that people on visas who

 “march[ed] at universities, and in the streets of our country… calling for intifada,

 celebrating what Hamas has done, justifying what Hamas has done” are “supporters

 of Hamas” and “need to go.” Id. ¶ 33 n.6; 16 see Miller v. Mitchell, 598 F.3d 139,

 152–55 (3d Cir. 2010) (finding district attorney’s threats to prosecute minor

 plaintiffs if they did not attend an education program established a “likelihood of

 success on the causation prong of their retaliation claim”). And the President himself

 made clear in public statements and through multiple Executive Orders that he

 intended to weaponize the country’s immigration laws against noncitizens who

 participated in pro-Palestine campus protests. Am. Pet. ¶¶ 34–36.17


 16
   Also available at: https://perma.cc/L3MD-L5XL.
 17
   Also available at https://perma.cc/2BYW-9G84. These executive orders adopted
 a definition of antisemitism that, applied to pure speech, would punish
 constitutionally protected criticism of Israel and its policies. See Exec. Order 13899,
 Combating Anti-Semitism, 84 Fed. Reg. 68779 (Dec. 11, 2019) (“including as
 example of antisemitism “claiming that the existence of a State of Israel is a racist

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       Mr. Khalil, who was at times the public face of the protests at Columbia as a

 lead student negotiator, Id. at ¶ 24, was an obvious target. And the record here

 confirms that Mr. Khalil’s “public expression” of his support for Palestinian rights,

 “and its prominence, played a significant role” in the government’s decision to target

 him for removal. Ragbir, 923 F.3d at 71. Secretary Rubio met with activists critical

 of Mr. Khalil’s speech, and who specifically sought Mr. Khalil’s deportation, just

 days before he issued his Determination. Am. Pet. at ¶ 42. 18 After issuing the Rubio

 Determination, Secretary Rubio, high-level government officials, and the President

 himself repeatedly confirmed that they had taken this action against Mr. Khalil

 specifically because of his protected speech advocating for Palestinian rights, and

 pursuant to a policy of targeting that speech. Id. at ¶ 73 (stating “the Trump

 administration will not tolerate” what he characterized as Mr. Khalil’s “anti-

 American” activities); ¶¶ 74–80 (“if you tell us . . . I intend to come to your country

 as a student, and rile up all kinds of anti-Jewish . . . anti-Semitic activities,” and “if




 endeavor”); Exec. Order 14188, Additional Measures to Combat Anti-Semitism, 90
 Fed. Reg. 8847 (Jan. 29, 2025). A district court has found that public universities’
 incorporation of this specific definition of antisemitism in their speech policies
 constitutes impermissible viewpoint discrimination in violation of First Amendment.
 Students for Just. in Palestine, at Univ. of Houston v. Abbott, 2024 WL 4631301, at
 *10 (W.D. Tex. Oct. 28, 2024).
 18
    Also available at: https://perma.cc/Q7DK-L6U7.
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 you end up having a green card . . . we’re going to kick you out.”) 19; ¶ 81. 20 And the

 government’s NTA makes explicit that its removal case against Mr. Khalil is based

 on his protected activity. See ECF 90-1 (citing 8 U.S.C. § 1182(a)(3)(C)(iii)).

        The government’s statements and actions to date have also made clear that it

 is targeting Mr. Khalil as part of a broader policy of weaponizing immigration law

 to suppress protected pro-Palestine speech. See supra p. 7-8 (describing recent

 efforts to enforce the Policy against additional noncitizens).

      2. Respondents’ Policy constitutes an unconstitutional, viewpoint-based
         restriction.
        Mr. Khalil is also likely to prevail on his independent—but related—claim

 that Respondents’ Policy of targeting noncitizens for removal on the Foreign Policy

 Ground, based on First Amendment protected speech advocating for Palestinian

 rights, amounts to an unconstitutional viewpoint-based restriction on speech. To the

 extent that the government argues that the Rubio Determination stems from the


 19
   Also available at: https://perma.cc/3Q5E-WB6C.
 20
   The timing of Respondents’ after-the-fact addition of new allegations and a new
 charge against Mr. Khalil, on March 17, 2025, in direct response to this litigation,
 only further confirms their retaliatory motive. Specifically, Respondents now falsely
 assert that Mr. Khalil engaged in “fraud” and “willfully misrepresent[ed] a material
 fact” during his adjustment of status process. See ECF 90-1 (basing these allegations
 on purported past connections to, inter alia, a Columbia University student protest
 group, a United Nations relief agency, and the British Embassy). These allegations
 are meritless. Moreover, for all the reasons discussed above, Respondents continue
 to make abundantly clear that the purpose of this entire scheme to arrest, detain, and
 remove Mr. Khalil is to punish him for engaging in protected speech, in furtherance
 of their unlawful policy.
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 Policy, that does not excuse the government’s retaliation against Mr. Khalil. It only

 emphasizes the extent to which the Policy itself violates the First Amendment.

       As already discussed, see supra Section I.A.1, the government has announced

 its intention to engage in a viewpoint discriminatory scheme to arrest, detain, and

 seek to remove noncitizens who engage in constitutionally protected speech in the

 United States. While there has been intense political debate and protest on all sides

 regarding Israel’s military actions in Gaza and their devastating human toll on

 Palestinians, the Administration is targeting only pro-Palestine speech for

 punishment. Mr. Khalil’s arrest is a part of that scheme and intended to punish him

 for his past speech advocating for Palestinian rights, to silence his speech right now,

 and to suppress his future speech expressing the same views.

        Respondents’ Policy is textbook viewpoint discrimination. It “targets not

 subject matter, but particular views taken by speakers on a subject” due to “the

 specific   motivating    ideology    or   the   opinion    or     perspective   of   the

 speaker.” Rosenberger, 515 U.S. at 829. Viewpoint discrimination is “an ‘egregious

 form of content discrimination’” and “violates the First Amendment’s most basic

 promise.” Ne. Pennsylvania Freethought Soc’y v. Cnty. of Lackawanna Transit Sys.,

 938 F.3d 424, 432 (3d Cir. 2019) (quoting Rosenberger, 515 U.S. at 829). The

 government does not get to pick and choose which sides of an issue will be allowed

 a public hearing, and which will be punished or suppressed.

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       As discussed above, the fact that the Policy targets noncitizens does not

 immunize it from First Amendment challenge, because the First Amendment

 protects noncitizens against retaliatory detention and removal. See Ragbir, 923 F.3d

 at 69–70. “‘If there is any fixed star in our constitutional constellation, it is that no

 official, high or petty, can prescribe what shall be orthodox in politics . . . or other

 matters of opinion.’” Janus v. Am. Fed’n of State, Cty., & Mun. Emps., Council 31,

 585 U.S. 878, 892 (2018) (quoting West Va. Bd. of Educ. v. Barnette, 319 U.S. 624,

 642 (1943)). That principle applies with full force to government attempts to punish

 noncitizens in the country for their protected expression. The First Amendment

 freedoms of speech and press do not “acknowledge[] any distinction between

 citizens and resident aliens. They extend their inalienable privileges to all ‘persons’

 and guard against any encroachment on those rights by federal or state authority.”

 Bridges, 326 U.S. at 161 (Murphy, J., concurring).

       Nor does the Administration’s assertion of foreign policy concerns justify its

 explicitly viewpoint discriminatory scheme to punish and chill pro-Palestine speech

 throughout the country. See Am.-Arab Anti-Discrimination Comm. v. Reno, 70 F.3d

 1045, 1056 (9th Cir. 1995) (rejecting the proposition that the government’s

 invocation of foreign policy deprives the courts of their “essential function in

 ensuring that aliens are not targeted by the INS in retaliation for exercising their




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 acknowledged constitutional rights”); 21 see also Holder v. Humanitarian Law

 Project, 561 U.S. 1, 34 (2010) (“Our precedents, old and new, make clear that

 concerns of national security and foreign relations do not warrant abdication of the

 judicial role. We do not defer to the Government’s reading of the First Amendment,

 even when such interests are at stake.”); Yusupov v. Att’y Gen. of U.S., 650 F.3d 968,

 981 (3d Cir. 2011) (same). If the government could justify the overt suppression of

 disfavored views with the magic words “foreign policy,” a category that can be

 stretched to cover almost any issue of national (let alone international) concern, then

 noncitizens would be free to express only their enthusiastic support for the

 Administration and its policies—whether it comes to tariffs on U.S. allies, the war


 21
    On appeal, the Supreme Court ultimately held that 8 U.S.C. 1252(g) barred
 jurisdiction over the plaintiffs’ selective prosecution claims. 525 U.S. 471 (1999).
 Section 1252(g) does not apply to Petitioner’s claim for injunctive relief against the
 Policy or the Rubio Determination because he does not seek to enjoin any “decision
 or action by the Attorney General to commence proceedings, adjudicate cases, or
 execute removal orders,” 8 U.S.C. 1252(g), and rather challenges a Determination
 and Policy made by the Secretary of State, see also Ragbir, 923 F.3d at 63 (noting
 that 1252(g) does not apply to “‘many other decisions or actions that may be part of
 the deportation process—such as the decisions to open an investigation’” (quoting
 AADC, 525 U.S. at 482)). Moreover, Section 1252(g) has no application to
 challenges to unlawful detention; rather, courts adjudicate such challenges under
 traditional First Amendment principles. See Bello-Reyes, 985 F.3d at 700 n.4. But
 even if Section 1252(g) applies, Mr. Khalil’s claim for individual relief falls under
 the exception for “outrageous” conduct for substantially the same reasons the court
 identified in Ragbir: he is not in violation of any immigration laws, he is being
 retaliated against for protected expression, he has a strong interest in avoiding
 selective detention and deportation, and the government’s admission that he was
 targeted for the views he expressed obviates the need for any sensitive inquiry into
 the “real” reasons for Mr. Khalil’s targeting for removal. See 923 F.3d at 69–73.
                                           21
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 between Russia and Ukraine, or the annexation of Greenland and Canada. Such

 abuse of the Administration‘s removal powers to silence dissent and distort public

 debate in its favor would undermine the entire purpose of the First Amendment. 22

       The communicative impact of protected speech on foreign audiences is also

 not a legitimate ground for suppression. The fact that some people find speech

 uncomfortable, offensive, or upsetting does not diminish its protection under the

 First Amendment. The Supreme Court has “said time and again that ‘the public

 expression of ideas may not be prohibited merely because the ideas are themselves

 offensive to some of their hearers.’” Matal, 582 U.S. at 244 (quoting Street v. New

 York, 394 U.S. 576, 592, (1969)); see also Texas v. Johnson, 491 U.S. 397, 414

 (1989) (“If there is a bedrock principle underlying the First Amendment, it is that

 the Government may not prohibit the expression of an idea simply because society

 finds the idea itself hurtful or disagreeable.”). Indeed, “a function of free speech

 under our system of government is to invite dispute,” and it may “best serve its high

 purpose when it induces a condition of unrest, creates dissatisfaction with conditions

 as they are, or even stirs people to anger.” Terminiello v. Chicago, 337 U.S. 1, 4

 (1949). The First Amendment therefore protects “even hurtful speech on public

 issues to ensure that we do not stifle public debate.” Snyder, 562 U.S. at 461. This


 22
   “[W]hen asked if it is only pro-Palestinian protesters who will have their visas
 revoked, [Secretary] Rubio said others’ whose actions threaten the country’s foreign
 policy interests will be subject to deportation.” See Friedman, supra n.10.
                                          22
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 protection extends to “vehement, caustic, and sometimes unpleasantly sharp attacks

 on government and public officials.” N.Y. Times, 376 U.S. at 270.

       The First Amendment’s protection for controversial speech applies just as

 robustly to speech that offends foreign audiences, including foreign government

 officials, as speech that offends domestic ones. See Boos v. Barry, 485 U.S. 312, 322

 (1988) (“[W]e have indicated that in public debate our own citizens must tolerate

 insulting, and even outrageous, speech in order to provide ‘adequate ‘breathing

 space’ to the freedoms protected by the First Amendment’. . . . We are not persuaded

 that the differences between foreign officials and American citizens require us to

 deviate from these principles here.” (quoting Hustler Magazine, Inc. v. Falwell, 485

 U.S. 46, 56 (1988))). The First Amendment’s protections for free expression are

 well-known the world over, and foreign audiences are not likely to mistake the

 government’s constitutionally compelled tolerance of dissent for endorsement of the

 views expressed by dissidents. See Widmar v. Vincent, 454 U.S. 263, 271 n.10

 (1981) (“[B]y creating a forum the University does not thereby endorse or promote

 any of the particular ideas aired there. Undoubtedly many views are advocated in the

 forum with which the University desires no association.”).

    3. The Policy and Determination as to Petitioner are void for vagueness.
       Mr. Khalil is also likely to succeed on his claim that the challenged Policy

 does not satisfy due process, because it is void for vagueness. The Policy, including


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 as-applied to Mr. Khalil, does not give proper notice to anyone residing in the

 country which of their otherwise-lawful speech, opinions, beliefs, or advocacy will

 result in the government targeting them for detention and removal, and it provides

 government officials with unfettered discretion to target disfavored speech. Indeed,

 it is still unclear which exactly of Mr. Khalil’s past statements, associations, or

 expressive activity resulted in the Rubio Determination and led to his detention.

       “It is a basic principle of due process that an enactment is void for vagueness

 if its prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S.

 104, 108 (1972). A policy can be vague for two independent reasons: if the

 government fails to “provide the kind of notice that will enable ordinary people to

 understand what conduct it prohibits,” or if it would “authorize and even encourage

 arbitrary and discriminatory enforcement.” City of Chicago v. Morales, 527 U.S. 41,

 56 (1999). When acts affecting speech are involved, particularly “rigorous adherence

 to [due process] requirements is necessary to ensure that ambiguity does not chill

 protected speech.” FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253–54

 (2012). And the requirement for rigorous scrutiny is only heightened where a law or

 policy carries serious penalties. See, e.g., Reno v. ACLU, 521 U.S. 844, 871–72

 (1997) (noting that the “severity of criminal sanctions may well cause speakers to

 remain silent rather than communicate even arguably unlawful words, ideas, and

 images.”). Because removal from the United States is “a particularly severe penalty,”

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 Lee v. United States, 582 U.S. 357, 370 (2017) (quoting Padilla, 559 U.S. at 365),

 the Policy of deporting noncitizens for pro-Palestine speech must satisfy the most

 exacting vagueness standard. It cannot.

       First, the Policy as stated by the White House, the Secretary of State, and

 various DHS officials is too vague to give noncitizens living in the country fair

 notice of what speech will cause the Administration to arrest, detain, and seek to

 remove them. Respondent Rubio has stated that he plans to apply the Foreign Policy

 Ground to any “Hamas supporters in America so they can be deported.” 23 But he has

 given no definition of who might qualify as a so-called “Hamas supporter” 24 and,

 based on the facts of this case, it appears that any prominent advocate for Palestinians’

 dignity and their right to live, and any vocal critic of Israeli or U.S. policy towards

 Palestinians, would fit the description in Respondent Rubio’s view. Moreover, the

 Administration’s various other statements have provided no greater clarity about

 what constitutes proscribed “pro-Hamas” speech or beliefs. Indeed, when asked by


 23
   @marcorubio, X (Mar. 9, 2025, 6:10 PM), https://perma.cc/6EPU-6WP4.
 24
    Even advocacy explicitly supporting Hamas— a designated foreign terrorist
 organization that Mr. Khalil neither supports nor associates with—would be
 protected under the First Amendment, so long as it is not coordinated with Hamas.
 See Boim v. Quranic Literacy Inst., 291 F.3d 1000, 1026 (7th Cir. 2002) (explaining
 that under the material support for terrorism statute, individuals “may, with impunity,
 become members of Hamas, praise Hamas for its use of terrorism, and vigorously
 advocate the goals and philosophies of Hamas”); accord Holder, 561 U.S. at 39
 (“[W]e in no way suggest that a regulation of independent speech would pass
 constitutional muster, even if the Government were to show that such speech
 benefits foreign terrorist organizations.”).
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 NPR to provide any specifics on what would constitute a deportable offense under

 the Policy, the Deputy Secretary of DHS could give no answer beyond indicating an

 objection to the continued presence of noncitizens who seek to engage in “protest.”

 See Salama Decl., Ex. C, ECF 68-3.

       Nor is the specific Determination of how the Policy applies to Mr. Khalil any

 clearer. As discussed supra, see Section I.A.1, official statements from DHS merely

 assert that Mr. Khalil “led activities aligned to [sic] Hamas,” and in “support” of

 Hamas, without any clarity on what those activities were, or what these terms

 mean. 25 The government’s superseding NTA provides no further clarity, parroting

 the statutory language without identifying to which of Mr. Khalil’s protected

 expressive activities the Secretary objects. See ECF 90-1. To the extent the Secretary

 is insinuating that Mr. Khalil can be punished because of some attenuated

 association with Hamas supporters, that too would violate due process prohibitions

 on guilt by association. See Yusupov, 650 F.3d at 983 (holding to invoke grounds for

 deportability, “[g]uilt by association does not suffice” (citing Scales v. U.S. 367 U.S.

 203 (1961))).




 25
    @DHSgov, X (Mar. 9, 2025, 9:29 PM), https://perma.cc/2BYW-9G84;
 https://perma.cc/6EPU-6WP4; Salama Decl. Ex. D, ECF 68-4 Jake Offenhartz,
 Immigration Agents Arrest Palestinian Activist Who Helped Lead Columbia
 University Protests, Associated Press (Mar. 9, 2025) https://perma.cc/HPH9-T2SV.
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       None of these explanations provide sufficient standards to satisfy due process.

 The words “support” and “alignment” are expansive and highly subjective. Does

 mere presence at a protest in support of Palestinian human rights qualify for the

 Administration’s definition of support or of engaging in protest? Does publicly

 criticizing the actions of Israel’s military in Gaza amount to “alignment” with Hamas

 because it may overlap with the organization’s ideological opinions? Criticism of

 U.S. actions and financing in support of Israel’s actions in Gaza? What about

 engaging in scholarship about the history of Palestine?

       Multiple courts have recognized that terms akin to “support” are susceptible

 to a “wide range of meanings depending on context.” United States v. Miselis, 972

 F.3d 518, 536 (4th Cir. 2020) (prohibition on “encourage[ing]” or “promot[ing]” a

 riot was overbroad) 26; see also United States v. Rundo, 990 F.3d 709, 717 (9th Cir.

 2021) (same, explaining that “encourage” and “promote” could mean “to

 recommend, advise”), cert denied, 142 S. Ct. 865 (2022); Rosenberger 515 U.S. at

 836 (emphasizing “vast potential reach” of term “promote[]”). Such broad language

 sweeps across a range of constitutionally protected speech and activities, making it

 impossible for individuals to know “what is prohibited.” United States v. Loy, 237

 F.3d 251, 258 (3d Cir. 2001) (citing Grayned, 408 U.S. at 108–09).



 26
   Because the court found those statutory terms overbroad, it had no occasion to
 resolve whether they were also unconstitutionally vague. Miselis, 972 F.3d at 546.
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       The Supreme Court’s decision Bridges v. Wixon is instructive. In that case, an

 immigrant from Australia was placed in proceedings on the basis of his alleged

 “affiliation” with the Communist Party. 326 U.S. at 137–38, 142. Recognizing “[w]e

 cannot assume that Congress meant to employ the term ‘affiliation’ in a broad, fluid

 sense which would visit such hardship on an alien for slight or insubstantial reasons,”

 the Court narrowly interpreted the relevant statute in a way consistent with the First

 Amendment. See id. at 148-49 (requiring more than “sympathy” or “intermittent”

 aid); see also Gastelum-Quinones v. Kennedy, 374 U.S. 469 (1963) (holding that

 because “deportation is a drastic sanction, one which can destroy lives and disrupt

 families,” “a holding of deportability must therefore be premised upon evidence of

 ‘meaningful association’ more directly probative than a mere inference” regarding

 general support for the Communist party); Rowoldt v. Perfetto, 355 U.S. 115 (1957)

 (reversing deportation order based on communist party affiliation and stressing “the

 solidity of proof that is required for a judgment entailing the consequences of

 deportation.” ).

       Similarly, in Loy, the Third Circuit determined that a parole condition

 forbidding an individual from “possessing pornography of any type” was

 unconstitutionally vague. Loy, 237 F.3d at 265. Though the court acknowledged that

 the government would have authority to enforce the condition as to obscene

 materials unprotected by the First Amendment, id. at 262–64, it held that the

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 government’s failure to define exactly what might fall under the prohibition meant

 it did not pass muster. Id. at 265.

       And another court in this District previously found that the predecessor to the

 Foreign Policy Ground at the center of the Policy challenged here was

 unconstitutionally vague, as it “provides absolutely no notice to aliens as to what is

 required of them under the statute.” Massieu v. Reno, 915 F. Supp. 681, 699 (D.N.J.),

 rev’d on other grounds, 91 F.3d 416 (3d Cir. 1996); id. at 702 (“If the Constitution

 was adopted to protect individuals against anything, it was the abuses made possible

 through just this type of unbounded executive authority.”). 27

       In contrast, where courts have rejected vagueness challenges, it is because the

 elements of the challenged policy are clearly defined and frequently have a scienter

 requirement. See, e.g., United States v. Amirnazmi, 645 F.3d 564, 589 (3d Cir. 2011)

 (explaining that a scienter requirement “may mitigate a law’s vagueness”). Here, the


 27
   On appeal, the Third Circuit did not address these constitutional holdings but
 reversed the decision on jurisdictional grounds, finding the petitioner could not raise
 a claim that “directly challenges his deportability” and seeks to enjoin removal
 proceedings before first exhausting his administrative remedies. Massieu v. Reno,
 91 F.3d 416, 421 (3d Cir. 1996). This jurisdictional holding is inapplicable here for
 several reasons, not least because Mr. Khalil is not directly challenging his removal
 proceedings or facially challenging any statute in the Immigration and Nationality
 Act. Rather, his challenges to the Policy and his detention are collateral to his
 removal proceedings and would not receive meaningful review if limited to the
 administrative review process. See E.O.H.C. v. Sec’y, DHS, 950 F.3d 177, 180 (3d
 Cir. 2020) (holding statutory exhaustion requirement does not bar district court
 review “[w]hen a detained alien seeks relief that a court of appeals cannot
 meaningfully provide on petition for review of a final order of removal”).
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 Policy of commencing immigration proceedings against individuals who are

 “aligned to Hamas” or “pro-Hamas” is not tied to any clarifying definitions in the

 INA or other statute, let alone tied to some kind of scienter. It thus risks chilling (or

 is actually meant to chill) all manner of protected speech and so is void for vagueness.

       Second, the Policy is also unconstitutionally vague for the separate reason that

 it permits arbitrary and discriminatory enforcement and has been arbitrarily and

 discriminatorily applied to Mr. Khalil. That is because the Policy relies on subjective

 determinations about whether speech is sufficiently “pro-Hamas” or “aligned to”

 Hamas or “sympathetic to” Hamas. The problem of subjectivity is exacerbated by

 the fact that the Policy itself encompasses constitutionally protected speech. A law

 or policy that “reach[es] a substantial amount of innocent conduct,” Morales, 527

 U.S. at 60-61, provides law enforcement authorities with “an unfettered power of

 interpretation” and is the type of ad hoc and subjective application of a policy with

 which the vagueness doctrine is concerned. Loy, 237 F.3d at 266. In the case of the

 Policy, one official might consider constitutionally protected speech in favor of

 Palestinian rights to be “pro-Hamas” while another official might consider the same

 speech not to be a sufficient basis for immigration consequences. This is a far cry

 from a policy or law for which there are objective standards limiting officials’

 discretion to commence proceedings. Cf. Arriaga v. Mukasey, 521 F.3d 219, 228 (2d

 Cir. 2008) (provision of the INA instructing removal of individuals convicted of

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 stalking provided adequate limits on enforcement because it did not enable

 discretionary application).

        Indeed, “[s]tandards provide the guideposts that check the [official]”; without

 them, “post hoc rationalizations . . . and the use of shifting or illegitimate criteria are

 far too easy.” City of Lakewood v. Plain Dealer Publishing Co., 486 U.S. 750, 758

 (1988). But the Policy contains no objective standards, not even a requirement of

 scienter, to guide an official in understanding when immigration consequences

 should be triggered by speech. 28 And because the Rubio Determination with respect

 to Mr. Khalil’s speech is similarly standardless, it is also unconstitutionally vague.

  B. Mr. Khalil’s retaliatory detention violates due process and the First
     Amendment.

        Mr. Khalil is also likely to succeed on his claim that his detention violates his

 due process rights. “[T]he Fifth Amendment entitles [noncitizens] to due process in

 deportation proceedings,” including in detention incident to those proceedings.

 Calderon-Rosas v. Att’y Gen. United States, 957 F.3d 378, 385 (3d Cir. 2020)

 (quoting Reno v. Flores, 507 U.S. 292, 306 (1993)); German Santos v. Warden Pike

 Cnty. Corr. Facility, 965 F.3d 203, 210 (3d Cir. 2020). Immigration detention is civil




 28
   Indeed, if the government is permitted to enact the Policy at issue here, there is
 nothing to stop the Secretary of State from designating anyone as “adverse” to U.S.
 foreign policy interests because they engage in speech with which the government
 disagrees.
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 and must “bear[] a reasonable relation to the purpose for which the individual [is]

 [detained]” so that it remains “nonpunitive in purpose and effect.” Zadvydas v. Davis,

 533 U.S. 678, 690 (2001) (cleaned up). There are only two legitimate purposes for

 immigration detention: mitigating flight risk and preventing danger to the

 community. See Demore v. Kim, 538 U.S. 510, 531 (2003) (Kennedy, J.,

 concurring); Zadvydas, 533 U.S. at 690; German Santos, 965 F.3d at 214. Neither

 purpose is served by Mr. Khalil’s detention.

       Mr. Khalil is neither a flight risk nor a danger to the community. He is a lawful

 permanent resident married to a U.S. citizen who lives in New York City and is

 pregnant with their first child (who will be born a U.S. citizen). Am. Pet. ¶¶ 1, 3. He

 has no criminal history. Id. As such, his detention bears no “reasonable relation” to

 a legitimate government purpose and is unlawful. Zadvydas, 533 U.S. at 690; see

 also Faure v. Decker, No. 15-cv-5128, 2015 WL 6143801, at *3 (S.D.N.Y. Oct. 19,

 2015) (ordering release or a bond hearing where there was “no evidence” that the

 habeas petitioner “poses a danger to the public or would flee during the pendency of

 the removal proceedings”).

       Not only does the government lack a legitimate purpose in Mr. Khalil’s

 detention, but it is clearly detaining him for patently illegitimate reasons: to punish

 him for his speech. But civil detention cannot be a “mechanism for retribution,”

 Kansas v. Crane, 534 U.S. 407, 412 (2002) (cleaned up), because “[r]etribution and

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 deterrence are not legitimate nonpunitive governmental objectives,” Bell v. Wolfish,

 441 U.S. 520, 539 n. 20 (1979) (cleaned up). Mr. Khalil’s detention in rural

 Louisiana—thousands of miles away from his attorneys, family, and community,

 Am. Pet. ¶¶ 73–81—is intended as retaliatory punishment for his expressive activity

 in support of Palestinian rights, see City of Houston v. Hill, 482 U.S. 451, 462–63

 (1987) (“The freedom of individuals verbally to oppose or challenge police action

 without thereby risking arrest is one of the principal characteristics by which we

 distinguish a free nation from a police state.”). Because he is subject to

 “discretionary detention” pursuant to 8 U.S.C. § 1226(a), Joyce Decl., ECF 32, at ¶

 7, ICE may release him during the pendency of proceedings, see 8 U.S.C. 1226(a).

 But Respondents have chosen to detain Mr. Khalil to advance their punitive purpose,

 and have previewed their position that a regulation, 8 C.F.R. § 1003.19(h)(2)(i)(C),

 prevents an Immigration Judge from redetermining the conditions of his custody,

 see ECF 99 at 16 n. 5, making the relief sought here all the more imperative.

       Further, the government’s statements make clear that it is detaining Mr. Khalil

 to prevent his current and future speech on a matter of great public concern, and to

 deter other noncitizens from doing the same. The government specifically linked its

 decision to detain Mr. Khalil to his expressive activity. President Trump posted that

 “ICE proudly apprehended and detained” Mr. Khalil because of his supposedly

 “[r]adical” protest activities and warned that “[t]his is the first arrest of many to

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 come.” Am. Pet. ¶ 73 (emphasis added). The White House likewise trumpeted that

 Mr. Khalil had been “ARRESTED BY ICE.” Am. Pet. ¶ 74. DHS itself similarly

 connected the fact that ICE had “arrested Mahmoud Khalil” to his supposed

 “activities aligned to Hamas.” Supra n.21.

       This unlawful detention necessarily results in injury to Mr. Khalil. See infra

 Section II; Barker v. Wingo, 407 U.S. 514, 532 (1972) (detention has a “serious”

 “detrimental impact on the individual”); Hernandez v. Sessions, 872 F.3d 976, 994

 (9th Cir. 2017) (unconstitutional detention for an indeterminate period is irreparable

 harm); Mohamed B. v. Decker, No. CV 20-13178, 2020 WL 6707949, at *7 (D.N.J.

 Nov. 16, 2020) (“Continued detention, of course, represents a significant and

 ongoing harm, requiring legal and factual justification.”). He is being detained

 thousands of miles away from his family and attorneys, in a detention facility known

 for systemic rights violations, including excessive force by guards and sexual

 assault. 29 See also Rauser v. Horn, 241 F.3d 330, 333 (3d Cir. 2001) (finding

 retaliation where detainee was “transferred to a distant prison where his family could

 not visit him regularly”). His detention is sure to result in economic injury as he will

 be unable to start his new job as scheduled next month, and may lose his employment

 altogether, if not released. Abdalla Decl. ¶¶ 26–27; Am. Pet. ¶ 71.


 29
    ACLU et. al, Inside the Black Hole: Systemic Human Rights Abuses Against
 Immigrants Detained & Disappeared in Louisiana, Aug. 2024, 17; 50–51, available
 at https://perma.cc/HT6Z-SRCY.
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       Further, Mr. Khalil’s detention is intended to chill his current and future

 speech. See supra Section I.A.1 (discussing, inter alia, Bello-Reyes, 985 F.3d at 698

 (First Amendment/retaliation challenge to detention); Gutierrez-Soto, 317 F. Supp.

 3d at 921 (same)). The government’s detention of Mr. Khalil—in rural Louisiana, to

 boot, away from his university and community—quite literally prevents him from

 continuing to speak in defense of Palestinian rights in all but the most limited ways.

 It also deprives the public of being able to hear from him, and chills others—

 especially noncitizens—from expressing similar views.

 II. PETITIONER FACES IRREPARABLE INJURY ABSENT AN
     INJUNCTION.

       There is no question that Mr. Khalil will suffer enormous irreparable injury

 absent a preliminary injunction, including through the violation of his First and Fifth

 Amendment rights, the silencing of his deeply held beliefs, lack of meaningful

 access to counsel and this Court, disruption in his medical care, loss of future

 employment, separation from his U.S. citizen wife, and the prospect of missing the

 birth of his first child. “The loss of First Amendment freedoms, for even minimal

 periods of time, unquestionably constitutes irreparable injury.” Stilp v. Contino, 613

 F.3d 405, 409 (3d Cir. 2010) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

 This principle extends to other constitutional rights, including the right to due

 process. See Council of Alt. Pol. Parties v. Hooks, 121 F.3d 876, 883 (3d Cir. 1997)

 (where plaintiffs are likely to prevail on the merits regarding the violation of

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 constitutional rights, “it clearly follows that denying them preliminary injunctive

 relief will cause them to be irreparably injured”). As such, deprivation of Mr.

 Khalil’s First and Fifth Amendment rights is enough to constitute irreparable harm.

 See Swartzwelder v. McNeilly, 297 F.3d 228, 234, 241–42 (3d Cir. 2002) (affirming

 the district court’s finding of irreparable harm based on the reasoning that

 “irreparable injury normally arises out of the deprivation of speech rights.”).

       Here, the very purpose of Mr. Khalil’s arrest, detention and pending removal

 is to silence, restrict, and chill his protected speech, now and in the future—and to

 send a message to other would-be protesters. In the past, Mr. Khalil has expressed

 his views on Palestine by helping to organize educational events and lectures,

 participating in interviews with national and international media outlets, and

 advocacy in international organizations, universities, and other spaces of influence.

 Am. Pet. ¶¶ 23–27. Every day he is confined in an immigration detention facility

 under threat of deportation, Mr. Khalil’s expressive activities are severely curtailed.

 Through his detention, he is prevented from speaking freely and openly—the very

 retaliatory and punitive harm he is challenging in this litigation.

       In addition to the loss of his First Amendment rights, as discussed supra, see

 Section I.B, Mr. Khalil faces irreparable injury to his liberty by continued

 unconstitutional and unlawful detention. Numerous courts have “concluded that the

 deprivation of an alien’s liberty is, in and of itself, irreparable harm.’” Velesaca v.

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 Decker, 458 F. Supp. 3d 224, 240–41 (S.D.N.Y. 2020) (quoting Sajous v. Decker,

 No. 18-CV-2447, 2018 WL 2357266, at *12 (S.D.N.Y. May 23, 2018)); see also

 Rosales-Mireles v. United States, 585 U.S. 129, 139 (2018) (“Any amount of actual

 jail time is significant[] and has exceptionally severe consequences for the

 incarcerated individual and for society which bears the direct and indirect costs of

 incarceration.” (alterations, citations, and internal quotation marks omitted)).

       Mr. Khalil’s isolation from his eight-months pregnant wife just weeks before

 the birth of their first child, his community, and the start of his employment has

 resulted in enormous hardship, further constituting irreparable harm. See Adams v.

 Freedom Forge Corp., 204 F.3d 475, 484–85 (3d Cir. 2000) (“The irreparable harm

 requirement is met if a plaintiff demonstrates a significant risk that he or she will

 experience harm that cannot adequately be compensated after the fact by monetary

 damages.”); Jimenez v. Napolitano, No. 12-CV-03558, 2012 WL 3144026, at *7

 (N.D. Cal. Aug. 1, 2012) (finding separation from family members, among other

 things, to constitute irreparable harm); Borjas-Calix v. Sessions, No. 16-CV-685,

 2017 WL 1491629, at *3 (D. Ariz. Apr. 26, 2017) (finding plaintiff in detention

 would experience irreparable harm, including “separation from family and loss of

 employment”). Mr. Khalil continues to face overwhelming emotional distress being

 unable to see or attend to his eight-months pregnant wife, who herself experiences

 the painful toll of being forcibly separated from her husband. Mr. Khalil’s distress

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 is further exacerbated by the prospect of losing his impending employment and

 health insurance for his wife and expected child mere weeks before birth, and the

 agony of potentially missing the birth of their first child and being unable to support

 them at such a critical time.

 III. THE EQUITIES WEIGH HEAVILY IN PETITIONER’S FAVOR
    AND A PRELMINARY INJUNCTION WILL SERVE THE PUBLIC
    INTEREST.

       Where the government is the opposing party, the latter two factors of the

 preliminary injunction analysis—the balance of the equities and the public interest—

 merge. Schrader v. Dist. Att'y of York Cnty., 74 F.4th 120, 126 (3d Cir. 2023) (citing

 Nken v. Holder, 556 U.S. 418, 435 (2009)). Here, the balance of hardships

 overwhelmingly favors Mr. Khalil. He, as well as the greater U.S. population, face

 enormous irreparable injury if an injunction is not granted. Conversely, the

 government can make no plausible claim to harm from an injunction.

       The public interest is “best served by ensuring the constitutional rights of

 persons within the United States are upheld.” Coronel v. Decker, 449 F. Supp. 3d

 274, 287 (S.D.N.Y. Mar. 27, 2020) (quoting Sajous v. Decker, No. 18-CV-2447,

 2018 WL 2357266, at *13 (S.D.N.Y. May 23, 2018)); see also Council of Alt. Pol.

 Parties v. Hooks, 121 F.3d 876, 883–84 (3d Cir. 1997) (“In the absence of legitimate,

 countervailing concerns, the public interest clearly favors the protection of

 constitutional rights . . . .”); Boone v. Brown, No. Civ. 05-CV-750, 2005 WL


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 2006997, at *15 (D.N.J. Aug. 22, 2005) (“[I]t is always in the public interest to

 ensure that any prisoner litigation affecting fundamental liberty interests comport

 with the requirements of due process.”). And there is critical public interest in

 ensuring executive agencies act lawfully. Texas v. United States, 809 F.3d 134, 187

 (5th Cir. 2015) (public interest is best served by “curtailing unlawful executive

 action”); see also League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)

 (finding a “substantial public interest in having governmental agencies abide by the

 federal laws that govern their existence and operations”).

        Beyond the public’s interest in ensuring detention is justified, see supra

 Section I.B., which weighs overwhelmingly in favor of granting the requested

 injunction, courts routinely emphasize that “[t]here is a strong public interest in

 upholding the requirements of the First Amendment.” Amalgamated Transit Union

 Loc. 85 v. Port Auth. of Allegheny Cnty., 39 F.4th 95, 109 (3d Cir. 2022); id. (“[I]f a

 plaintiff demonstrates both a likelihood of success on the merits and irreparable

 injury, it almost always will be the case that the public interest will favor the plaintiff.”

 (quoting Am. Tel. & Tel. Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421,

 1427 n.8 (3d Cir. 1994))). Where suppression of speech is at issue, the government

 action “harms not only the speaker, but also the public to whom the speech would

 be directed.” Sindicato Puertorriqueno de Trabajadores v. Fortuño, 699 F.3d 1, 15

 (1st Cir. 2012) (citing Citizens United v. Fed. Election Comm'n, 558 U.S. 310, 339

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 (2010)). Here, absent injunctive relief, the government will continue to unjustifiably

 chill speech and subject individuals to the threat of detention and deportation for

 exercising their bedrock constitutional rights. The public interest weighs heavily in

 favor of an injunction against the government’s excessively retaliatory and

 unconstitutional aims of suppressing the protected expression of noncitizens on a

 viewpoint discriminatory basis.

                                     CONCLUSION

        For the foregoing reasons, Petitioner Mahmoud Khalil respectfully requests

 that the Court issue an order that (1) preliminarily releases Mr. Khalil; (2)

 preliminarily enjoins Respondent Rubio’s determination that the INA’s “Foreign

 Policy Ground” applies to him; and (3) preliminarily enjoins Respondents from

 enforcing their Policy of targeting for detention and removal noncitizens who engage

 in constitutionally protected expressive activity in the United States in support of

 Palestinian rights or critical of Israel.




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  Dated: March 25, 2025                      Respectfully submitted,
  Newark, NJ
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                                       forthcoming




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